USCA11 Case: 23-11750    Document: 26-1     Date Filed: 08/27/2024   Page: 1 of 7




                                                [DO NOT PUBLISH]
                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 23-11750
                          Non-Argument Calendar
                          ____________________

       UNITED STATES OF AMERICA,
                                                      Plaintiﬀ-Appellee,
       versus
       WINSTON GREEN,


                                                  Defendant-Appellant.


                          ____________________

                 Appeal from the United States District Court
                     for the Southern District of Florida
                   D.C. Docket No. 1:22-cr-20548-CMA-1
                          ____________________
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       2                     Opinion of the Court                23-11750


       Before WILSON, BRANCH, and LUCK, Circuit Judges.
       PER CURIAM:
              Winston Green pleaded guilty to possessing a firearm as a
       convicted felon in violation of 18 U.S.C. section 922(g)(1). He was
       sentenced to 60 months of incarceration and three years of super-
       vised release. He appeals his sentence, arguing that the district
       court clearly erred in imposing a $6,000 fine. The government
       agrees with Green that the district court erred. We agree with
       Green as well. Because the record does not provide sufficient evi-
       dence for us to assess whether Green’s fine was appropriate, we
       vacate Green’s sentence and remand to the district court.
           FACTUAL BACKGROUND AND PROCEDURAL HISTORY
              As part of his plea, Green signed a factual proffer in which
       he admitted that he had been physically violent towards a woman
       in the presence of her young child. When the police arrived in re-
       sponse to a 911 call about the altercation, Green consented to a
       search, and the officer found a gun in his pants pocket. Green ad-
       mitted that he knew he had been convicted of a felony and knew
       he did not have a right to possess the firearm at the time he pos-
       sessed it.
              A probation officer prepared Green’s presentence investiga-
       tion report, which set his base offense level at 24 under the United
       States Sentencing Guidelines section 2K2.1(a)(2), because he com-
       mitted the offense after being convicted of a felony crime of vio-
       lence and a felony-controlled substance offense. The PSI then
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       23-11750               Opinion of the Court                         3

       subtracted three levels for acceptance of responsibility, resulting in
       a total offense level of 21. Based on a total offense level of 21 and
       a criminal history category of IV, the PSI found Green’s guideline
       imprisonment range to be 57 to 71 months, with a maximum term
       of imprisonment of 180 months. The statutory term of supervised
       release was a maximum of three years, and the guideline term of
       supervised release was one to three years.
              The PSI calculated the statutory maximum fine at $250,000,
       and the guideline fine range at $15,000 to $150,000. The PSI also
       concluded that Green “does not have the ability to pay a fine.” It
       noted that Green had to support a minor child, owned no real prop-
       erty or vehicles, did not have a bank account, and had no income
       since he had been in government custody for the previous eight
       months. He had “no notable employment history” except for a
       short time working jobs through a temp agency in 2013 or 2014.
       As for his education, he had completed eleventh grade and was pur-
       suing his general education diploma at the time of his arrest. He
       had no special training or licenses. Thus, the PSI concluded that
       Green’s entire net worth consisted of $30 donated by family and
       friends into his federal detention center commissary account. Nei-
       ther Green nor the government objected to the PSI, although
       Green did move for a downward variance.
              At sentencing, the district court reviewed the presentence
       investigation report, considered the statutory factors, and adopted
       the PSI’s calculated guideline range of 57 to 71 months. It sen-
       tenced Green to 60 months’ imprisonment, to be followed by three
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       4                      Opinion of the Court                23-11750

       years of supervised release. The district court noted Green’s exten-
       sive criminal history, his history of drug abuse, and his “anger con-
       trol problem.” It explained that it imposed the sentence because of
       Green’s “history and characteristics,” the “nature and circum-
       stances of the offense conduct,” the “need to promote respect for
       the law,” the “need to deter [Green] from future criminal conduct,”
       and to “get the message across that [Green] cannot possess a fire-
       arm or ammunition.”
              The district court also imposed a $6,000 fine as a “special
       condition” to be paid “over the period of time that you are under
       the court’s supervision.” It explained that the fine would be “col-
       lected from funds that [Green] ha[s] at the Bureau of Prisons and
       thereafter while [he is] working on supervision.”
              Green, through counsel, objected to the fine, arguing that
       because “[h]e [wa]s homeless” and “doesn’t have any assets or any
       money or any income,” he could not pay the fine. The district
       court responded that it “understand[s] he has some money in the
       commissary right now that friends deposit for him.” Moreover,
       the district court explained that, “thereafter when he works, he will
       be working and supervised for a 36-month period of time; over 36
       months, he is to pay a monthly sum.”
                                 DISCUSSION
              On appeal, Green argues—and the government agrees—
       that the district court clearly erred by imposing a fine after Green
       offered evidence to establish that he was indigent and objected to
       the fine. Both parties cite the guidelines’ exception to the
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       23-11750                Opinion of the Court                          5

       requirement that a district court impose a fine “except where the
       defendant establishes that he is unable to pay and is not likely to
       become able to pay any fine.” U.S.S.G. § 5E1.2(a). As we explain
       below, we agree the district court clearly erred.
               “We review the district court’s decision that [the d]efendant
       is able to pay the fine for clear error.” United States v. Gonzalez, 541
       F.3d 1250, 1255 (11th Cir. 2008) (citing United States v. McGuinness,
       451 F.3d 1302, 1307 (11th Cir. 2006)). The defendant bears the bur-
       den of proving his inability to pay. See id.               As already noted, a court must “impose a fine in all cases,
       except where the defendant establishes that he is unable to pay and
       is not likely to become able to pay any fine.” U.S.S.G. § 5E1.2(a).
       If a sentencing court determines that a fine is appropriate, it should
       impose a fine within the range specified by section 5E1.2(c), and
       after considering the factors listed in section 5E1.2(d). Those fac-
       tors are: the need for the combined sentence to reflect the serious-
       ness of the offense, any evidence of the defendant’s ability to pay a
       fine (including his income, earning capacity, and other financial re-
       sources), the burden a fine would impose on the defendant and his
       dependents, whether the court also ordered restitution, any collat-
       eral consequences of the defendant’s conviction (including civil ob-
       ligations arising from the defendant’s conduct), whether the de-
       fendant previously had been fined for a similar offense, the ex-
       pected costs to the government of the defendant’s term of proba-
       tion or imprisonment, and any other pertinent equitable
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       6                       Opinion of the Court                  23-11750

       considerations. See id. § 5E1.2(d); see also United States v. Lombardo,
       35 F.3d 526, 528–29 (11th Cir. 1994).
               “While some circuits require that the district court make
       specific findings, we have adopted the less rigid approach, and do
       not require the sentencing court to make specific findings of fact
       with respect to the Sentencing Guideline factors as long as the rec-
       ord reflects the district court’s consideration of the pertinent factors
       prior to imposing the fine.” United States v. McNair, 605 F.3d 1152,
       1233 (11th Cir. 2010) (citing United States v. Hernandez, 160 F.3d 661,
       665–66 (11th Cir. 1998)); see also United States v. Khawaja, 118 F.3d
       1454, 1459 (11th Cir. 1997) (“Explicit findings on these factors are
       not required . . . .). We “merely require[] that the record reflect the
       district court’s consideration of the pertinent factors prior to im-
       posing the fine.” Lombardo, 35 F.3d at 530. The record must ulti-
       mately contain “sufficient information with respect to the seven
       factors to permit us to find that the district court did not clearly err
       in imposing or setting the amount of the fine.” Id. At the same
       time, “[i]f the record does not reflect the district court’s reasoned
       basis for imposing a fine, we must remand the case so that the nec-
       essary factual findings can be made.” McNair, 605 F.3d at 1233       (quoting Gonzalez, 541 F.3d at 1256).
             The PSI, which the district court reviewed and adopted, re-
       ported facts relevant to the section 5E1.2(d) factors, including
       Green’s net worth, which it calculated to be $30, as well as the fact
       that Green owned no real property or assets, had no bank account,
       had a history of working only temp jobs for a couple of years, and
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       23-11750                Opinion of the Court                          7

       needed to support a minor child. He had not completed high
       school and did not yet have his GED. When not incarcerated,
       Green stated that he is homeless.
               Despite all of this, the district court imposed a $6,000 fine,
       reasoning that Green could pay the fine while working under su-
       pervised release. But we cannot conclude from the record how the
       district court expects Green to pay the fine. See United States v. Long,
       122 F.3d 1360, 1367 (11th Cir. 1997) (upholding a fine where the
       district court specified that a defendant who had been previously
       gainfully employed could make monthly payments of $56 towards
       a $2,000 fine during supervised release). The district court must
       give some reason why it is levying a fine after adopting the PSI’s
       factual finding that Green cannot pay a fine. Thus, because the rec-
       ord does not include sufficient evidence to support the district
       court’s fine, we vacate Green’s sentence and remand to the district
       court for it to make any necessary findings.
              SENTENCE VACATED and REMANDED.
